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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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JOSEPH BARONE,                             :
                                           :   Index No. 6:17-cv-06877
                              Plaintiff,   :
                                           :
                  -against-                :
                                           :
                                           :
BAUSCH & LOMB, INC.,                       :
MORCHER GmbH, and FCI                      :
OPHTHALMICS, INC.,                         :
                                           :
                               Defendants.
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                       PLAINTIFF’S RESPONSE
         TO DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY




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                                                 Attorneys for Plaintiff




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        Plaintiff hereby responds to defendant Bausch & Lomb, Inc.’s notice of supplemental

authority, i.e. Conklin v Medtronic, No CV-17-0322-PR, slip op. (Ariz. Dec. 18, 2018).

        In its notice, defendant makes the preposterous assertion that “after the decision in

Conklin,… Rosen… can no longer be considered good law.” In other words, defendant is

arguing that because the Supreme Court of the State of Arizona ruled that Arizona common law

does not impose a duty upon a manufacturer to submit adverse event reports to a government

agency, it somehow follows that the Northern District of New York’s holding regarding New

York common law in Rosen v. St. Jude Med., Inc., 41 F. Supp. 3d 170 (N.D.N.Y. 2014) is

invalid. This argument is meritless.

        The Court need not address the “law school 101” issue of whether, hypothetically, an

interpretation of New York common law by the Arizona Supreme Court could invalidate the

Northern District of New York’s ruling about New York common law based, in part, on New

York State Appellate Division case law. This is because a plain review of the decision in

Conklin reveals that the Supreme Court of the State of Arizona did not address New York

common law or the Rosen decision. And, while the Conklin court disagreed with the 9th

Circuit’s interpretation of Arizona common law in Stengel v. Medtronic Inc., 704 F.3d 1224 (9th

Cir. 2013), which was referenced in Rosen, Rosen was not -- as defendant disingenuously argues

-- “significantly predicated on Stengel.” 1 Rather, the holding in Rosen was predicated on an

interpretation of New York common law.

        In the case at bar, plaintiff brings his claims not under federal law, but for violation of the

parallel requirements of New York common law. In Baker v. St. Agnes Hosp., 70 A.D.2d 400,

421 N.Y.S.2d 81 (App. Div. 1979), the mother of an infant injured by defendant’s drug filed an


1
 Plaintiff disagrees with defendant’s argument about Conklin’s impact on the viability of Michajlun v Bausch &
Lomb, Inc. 2015 U.S. Dist. Lexis 30024 (S.D. Cal. Mar. 11, 2015) for the same reason.

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action seeking damages from the drug manufacturer on theories of common law strict liability

and negligence. Defendant argued that its package inserts adequately warned of the drug's

dangers and that the doctor's failure to consult reference material on the drug before prescribing

it was the proximate cause of the infant's injuries. The Appellate Division denied defendant’s

motion for summary judgment and indicated that under New York common law, a drug

manufacturer is “under a duty to warn the medical profession of dangers inherent in its biological

drugs which, in the exercise of reasonable care, it knew or should have known to exist.” And, “it

must keep abreast of knowledge of its products as gained through research, adverse reaction

reports, scientific literature and other available methods;” and “equally important, it must take

such steps as are reasonably necessary to bring that knowledge to the attention of the medical

profession. The greater the potential hazard of the drug, the more extensive must be the

manufacturer's efforts to make that hazard known to the medical profession.” Id. at 82. The

Baker court also provided examples of what defendant could have done to discharge its duty

under New York common law, i.e. “dear Doctor" letters addressed to physicians, notices in

medical journals, and calling physicians personally to present them with information. Id. at 86.

        Thereafter, in Rosen v. St. Jude Med., Inc., 41 F. Supp. 3d 170 (N.D.N.Y. 2014), where

plaintiff alleged that she suffered injuries as a result of defects associated with a Class III

medical device and asserted a failure to warn claim, the Court cited Baker to describe the duty of

a medical device manufacturer under New York common law. The Court then held that because

plaintiff alleged a violation of a federal regulation, and New York imposes a similar state duty,

plaintiff's failure to warn claim was "parallel" and not "different or in addition to" the applicable

requirements under federal law. Id. at 183-185.




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       Similarly, in the case at bar, plaintiff is asserting that had defendant complied with 21

CFR § 803.50 by communicating adverse event reports to the FDA, defendant would have

effectively warned surgeons, including plaintiff’s surgeon, of those adverse events. This is

because events which are reported to the FDA are input into the MAUDE system, which is

available to medical professionals and the public at large. Defendant’s failure to communicate

adverse event reports to the FDA -- which is required under federal law -- amounted to a breach

of the parallel, New York common law duty as enunciated by, inter alia, Baker and Rosen.

Notably, in a September 28, 2018 opinion in A.F. v. Sorin Grp. USA, Inc., 2018 U.S. Dist.

LEXIS 168726 (S.D.N.Y. Sep. 28, 2018) -- where plaintiff alleged defendant failed to timely

report adverse events to the FDA -- the Southern District of New York partially denied

defendant’s motion to dismiss, indicated that it “agree[d] with Judge Kahn’s decision in Rosen,”

and explained:

                 Under New York common law, a "manufacturer of a product used by the medical
                 community has a duty to warn the medical community 'of all potential dangers
                 which it knows or should know, and must take such steps as are reasonably
                 necessary to bring that knowledge to the attention of the medical [community].'"
                 Clar v. Riegler, 46 A.D.3d 1465, 849 N.Y.S.2d 739, 740 (App. Div. 4th Dep't
                 2007) (alteration in original) (quoting Glucksman v. Halsey Drug Co., 160 A.D.2d
                 305, 553 N.Y.S.2d 724, 726 (App. Div. 1st Dep't 1990)). "This duty is a
                 continuous one, and requires that the manufacturer be aware of the current
                 information concerning the safety of its product." Krasnopolsky v. Warner-
                 Lambert Co., 799 F. Supp. 1342, 1345-46 (E.D.N.Y. 1992) (citing Lindsay v.
                 Ortho Pharm. Corp., 637 F.2d 87, 91 (2d Cir. 1980)). Moreover, New York
                 courts have long recognized that the violation of a regulation mandating a
                 standard of conduct is some evidence of negligence and probative of whether the
                 conduct is reasonable and adequate under the circumstances. E.g., Rizzuto v. L.A.
                 Wenger Contracting Co., 91 N.Y.2d 343, 693 N.E.2d 1068, 1072, 670 N.Y.S.2d
                 816 (N.Y. 1998)…Accordingly, the Court holds that a manufacturer's duty to take
                 steps that are reasonably necessary to warn the medical community may include
                 warning the FDA as required by the MDA. Id. at 14-16.




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       For these reasons, and the reasons articulated in prior submissions and during oral

argument, plaintiff respectfully asserts that -- even upon consideration of the Conklin decision --

defendant’s motion to dismiss must be denied.

DATED: January 16, 2019

                                                                   Respectfully submitted,
                                                             THE SULTZER LAW GROUP, P .C.




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